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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

AMYRIS, INC.,                                           Case No. 23-11131 (TMH)

                              Debtor.

In re:                                                  Chapter 11

AB TECHNOLOGIES LLC,                                    Case No. 23-11132 (TMH)

                              Debtor.

In re:                                                  Chapter 11

AMYRIS CLEAN BEAUTY, INC.,                              Case No. 23-11134 (TMH)

                              Debtor.

In re:                                                  Chapter 11

AMYRIS FUELS, LLC,                                      Case No. 23-11136 (TMH)

                              Debtor.

In re:                                                  Chapter 11

AMYRIS-OLIKA, LLC,                                      Case No. 23-11133 (TMH)

                              Debtor.

In re:                                                  Chapter 11

APRINNOVA, LLC,                                         Case No. 23-11137 (TMH)

                              Debtor.

In re:                                                  Chapter 11

ONDA BEAUTY INC.,                                       Case No. 23-11138 (TMH)

                              Debtor.




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In re:                                                                 Chapter 11

UPLAND1 LLC,                                                           Case No. 23-11130 (TMH)

                                   Debtor.

              ORDER AUTHORIZING JOINT ADMINISTRATION OF
         RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

         Upon consideration of the motion (the “Motion”)1 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), for the entry of an order (this “Order”)

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1 authorizing and directing the joint

administration of the Debtors’ related Chapter 11 Cases for procedural purposes only, all as more

fully set forth in the Motion; and upon consideration of the First Day Declaration; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2), and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at an interim

hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor,



1
    A capitalized term used but not defined herein have the meaning ascribed to it in the Motion.



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          IT IS HEREBY ORDERED THAT:

          1.       The Motion is hereby GRANTED as set forth herein.

          2.       The above-captioned Chapter 11 Cases are hereby consolidated for procedural

purposes only and shall be jointly administered by the Court. Nothing contained in this Order shall

be deemed or construed as directing or otherwise effecting a substantive consolidation of the

above-captioned cases, and this Order shall be without prejudice to the Debtors’ rights to seek

entry of an order substantively consolidating their respective cases.

          3.       The caption of the jointly administered cases shall read as follows:

                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors1.                           (Joint Administration Requested)

1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.

          4.       The Clerk is directed to make a notation substantially similar to the following on

the docket of each Debtor:

                   An order (the “Joint Administration Order”) has been entered in this
                   case directing the joint administration of the Chapter 11 Cases listed
                   below for procedural purposes only. The docket in Case No. 23-
                   11131 should be consulted for all matters affecting these cases. The
                   following Chapter 11 Cases are jointly administered pursuant to the
                   Joint Administration Order: Amyris, Inc. (Case No. 23-11131); AB
                   Technologies LLC (Case No. 23-11132); Amyris Clean Beauty, Inc.
                   (Case No. 23-11134);Amyris Fuels, LLC (Case No. 23-11136);
                   Amyris-Olika, LLC (Case No. 23-11133); Aprinnova, LLC (Case
                   No. 23-11137); Onda Beauty Inc. (Case No. 23-11138); and
                   Upland1 LLC (Case No. 23-11139). All further pleadings and other
                   papers shall be filed in, and all further docket entries shall be made


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                 in Case No. 23-1113), which should also be consulted for all matters
                 affecting this case.

        5.       The caption set forth above shall be deemed to satisfy any applicable requirements

of section 342(c) of the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n).

        6.       All pleadings and other documents to be filed in the jointly-administered cases shall

be filed and docketed in the case of Amyris, Inc., Case No. 23-11131.

        7.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        8.       This Order shall take effect immediately upon entry.

        9.       The Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




     Dated: August 11th, 2023               THOMAS M. HORAN
     Wilmington, Delaware                   UNITED STATES BANKRUPTCY JUDGE




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